                  Case 4:12-cr-00186-DPM                        Document 463        Filed 10/20/16         Page 1 of 3
A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1
                                                                                                                 EASTERN    o'5f~11~t f2/ik~SAS
                                      UNITED STATES DISTRICT COURT                                                    OCT 20 2016
                                                    Eastern District of Arkansas                         JAM ES
                                                                                                         By:_'h'""tr-+-.7'--~~~.....
         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case                                     EP CLERK
                              v.
               Mark Aaron Zane Pruitt

                                                                         Case No. 4:12-cr-186-DPM-4
                                                                         USM No. 27121-009
                                                                          Christophe Tarver
                                                                                               Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            1--7 (Gen., Std., and Spec.) of the term of supervision.
D   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                               Violation Ended
1 (General)                        Failing to report to the probation office within 72 hours of

                                   release, a Grade C Violation                                            03/28/2016

2 (General)                        Failing to submit drug test within 15 days of release, a

                                                 (Continued on next page.)
       The defendant is sentenced as provided in pages 2 through _ _3 __ ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untfl all fines, restitution, costs, and special assessments imposed b_y this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of materiar changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9735                       10/19/2016
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:            1990

City and State of Defendant's Residence:
Unknown
                                                                          D.P. Marshall Jr.                         U.S. District Judge
                                                                                              Name and Title of Judge


                                                                                                       Date
                   Case 4:12-cr-00186-DPM                       Document 463    Filed 10/20/16           Page 2 of 3
AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet lA
                                                                                                   Judgment-Page   _...,2_ of     3
DEFENDANT: Mark Aaron Zane Pruitt
CASE NUMBER: 4:12-cr-186-DPM-4

                                                         ADDITIONAL VIOLATIONS

                                                                                                                          Violation
Violation Number                  Nature of Violation                                                                     Concluded
                                  Grade C violation                                                                      04/09/2016

3 (Standard 2)                    Failing to report to the probation office, a Grade C violation                         04/07/2016

4 (Standard 6)                    Failing to Notify the Probation Officer before a Change in Residence, a

                                  Grade C violation                                                                      07/31/2016

5 (Special S1)                    Failing to report for drug testing and treatment, a Grade C violation                  08/01/2016

6 (Special)                       Failing to remain in chemical-free living and removing location monitoring

                                  device, a Grade C violation                                                            08/05/2016

7 (Standard 7)                    Testing positive for methamphetamine and marijuana, a Grade C violation                08/08/2016
                  Case 4:12-cr-00186-DPM                       Document 463      Filed 10/20/16       Page 3 of 3
  AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                             Judgment- Page   _...,3_ of         3
  DEFENDANT: Mark Aaron Zane Pruitt
  CASE NUMBER: 4:12-cr-186-DPM-4


                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total tenn of :
6 months.




     D The court makes the following recommendations to the Bureau of Prisons:




     'i/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
       D at ________ o a.m.                             D p.m.      on
         D    as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

 I have executed this judgment as follows:




         Defendant delivered on                                                    to

 at - - - - - - - - - - - - - w i t h a certified copy of this judgment.




                                                                                         UNITED STATES MARSHAL



                                                                           By - - - - - ---
                                                                                      DEPUTY  ---
                                                                                             UNITED   ---
                                                                                                    STATES  -------
                                                                                                           MARSHAL
